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IN THE UNITED STATES DISTRICT COURT
EASTERN DIVISION
WHAM-O HOLDING, LTD. and
INTERSPORT CORP. dfb/a WHAM-O,
1 : 1 Q-cv-Ot 332
Plaintiffs, Judge Marvin E. Aspen

Magistrate Judge Maria Vatdez
V.

THE PARTNERSHIPS AND UNINCORPORATED
ASSOClATIONS IDENTIFIED ON SCHEDULE “A”,

Defendants.
COMPLAINT

Plaintift`s, Wham-O Holding, Ltd. and InterSport Corp. d/b/a WHAM~O (“WHAM-O” or
"Plaintiffs”), by their undersigned counsel, hereby complain of the Partnerships and
Unincorporated Associations identified on Schedule A attached hereto (collectively,
“Defendants”), and for their Complaint hereby alleges as follows:

JURISDICTION AND VENUE

l. This Court has original subject matter jurisdiction over the claims in this action
pursuant to the provisions of the Lanham Act, 15 U.S.C. § 1051 et seq. 28 U.S.C. § 1338(a}-(b)
and 28 U.S.C. § 1331. This Court has jurisdiction over the claims in this action that arise under
the laws of the State of lllinois pursuant to 28 U.S.C. § l367(a), because the state law claims are
so related to the federal claims that they form part of the same case or controversy and derive
from a common nucleus of operative facts.

2. Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may
properly exercise personal jurisdiction over Defendants since each of the Defendants directly

targets consumers in the United States, including Illinois, through at least the fully interactive

CLERK, U.S. DlSTRICT COURT

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commercial Intemet stores operating under the Defendant Domain Names and/or the Online
Marketplace Accounts identified in Schedule A attached hereto (collectively, the “Defendant
Intemet Stores”). Specitically, Defendants are reaching out to do business with Illinois residents
by operating one or more commercial, interactive Intemet Stores through which Illinois residents
can purchase products bearing counterfeit versions of Plaintiffs’ trademark. Each of the
Defendants has targeted sales from Illinois residents by operating online stores that offer
shipping to the United States, including Illinois, accept payment in U.S. dollars and, on
information and belief, has sold products bearing counterfeit versions of Plaintiffs’ federally
registered trademark to residents of Illinois. Each of the Defendants is committing tortious acts
in Illinois, is engaging in interstate commerce, and has wrongfully caused Plaintiffs substantial
injury in the State of Illinois.
INTRODUCTION

3. This action has been filed by WHAM-O to combat online counterfeiters who trade
upon WHAM-O’s reputation and goodwill by selling and/or offering for sale products in
connection with WHAM-O’s HACKY SACK trademark, which is covered by U.S. Trademark
Registration No. 1,183,855. The Registration is valid, subsisting, and in full force and effect A
true and correct copy of the federal trademark registration certificate for the mark is attached
hereto as Exhibit l.

4. The Defendants create numerous Defendant Intemet Stores and design them to
appear to be selling genuine Plaintiffs products, while selling inferior imitations of Plaintiffs’
products. The Defendant Intemet Stores share unique identifiers, such as design elements and
similarities of the counterfeit products offered for sale, establishing a logical relationship between

them and suggesting that Defendants’ illegal operations arise out of the same transaction,

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occurrence, or series of transactions or occurrences Defendants attempt to avoid liability by going
to great lengths to conceal both their identities and the full scope and interworking of their illegal
counterfeiting operations Plaintiffs are forced to file this action to combat Defendants’
counterfeiting of Plaintiffs’ registered trademark, as well as to protect unknowing consumers from
purchasing unauthorized HACKY SACK products over the Intemet. Plaintiffs have been and
continue to be irreparably damaged through consumer conii.lsion, dilution, and tamishment of
their valuable trademark as a result of Defendants’ actions and seeks injunctive and monetary
relief.

5. This Court has personal jurisdiction over each Defendant, in that each Defendant
conducts significant business in Illinois and in this Judicial District, and the acts and events
giving rise to this lawsuit of which each Defendant stands accused were undertaken in Illinois
and in this Judicial District. ln addition, each Defendant has offered to sell and ship infringing
products into this J udicial District.

THE PLAINTIFFS

6. Plaintiff, Wham-O Holding, Ltd., is a foreign company having its principal place
of business in Hong Kong at 212-220 Lockhart Road, B2,ll/F., Loyong Court Commercial
Bldg., Wan chai, Hong Kong and Plaintiff, intersan corp. d/b/a WHAM-o Interspon corp.
d/b/a WHAM-O acts as the Sales, Marketing, Design and Distribution arm of Wham-O products
for the Americas and has a place of business at 966 Sandhill Avenue, Carson, California 90746.

7. WHAM-O or its predecessors have exclusively used the HACKY SACK mark,
and products sold under the HACKY SACK mark are widely popular.

8. WHAM-O has long engaged in the business of manufacturing and marketing in

interstate commerce products sold under the HACKY SACK trademark.

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9. Since the introduction to the public of the HACKY SACK, Wham-O has
continuously used the HACKY SACK Mark, which has long served to identify and distinguish
Wharn-O’s HACKY SACK products from those of others. Wham-O has sold millions of
products under the HACKY SACK Mark, and Wham-O has continuously promoted the mark on
its packaging, creating a direct consumer association between the HACKY SACK Mark and
Wham-O as source.

lO. WHAM-O is the official source of HACKY SACK products:

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By introducing Hacky Sack to the world in 1983. Wharn-O has started the whole new alternative sports‘ culer
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are by yoursctf or with bunch of frienth Wha;n-U we are constantly working on improving our Hacky Sacks to
make your game even more hint Check nut our ccl¥ectinn of the vclnnr and crochctad Hacky Sacks and make sure
to sign up for entail update on new ilan':sf

 

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ll. The HACKY SACK trademark is distinctive and identities the merchandise as
goods from WHAM-O. The registration for the HACKY SACK trademark constitutes prima
facie evidence of its validity and of WHAM-O’s exclusive right to use the HACKY SACK

trademark pursuant to 15 U.S.C. § 1057 (b).

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12. The HACKY SACK trademark has been continuously used and never abandoned

13. WHAM-O has expended substantial time, money, and other resources in
developing, advertising, and otherwise promoting the HACKY SACK trademark. As a result,
products bearing the HACKY SACK trademark are widely recognized and exclusively
associated by consumers, the public, and the trade as being products sourced &om WHAM-O.

14. In addition to continuous use of the HACKY SACK Mark, Wham-O actively
polices the improper use of its mark by others.

THE DEFENDANTS

15. Defendants are individuals and business entities who, upon information and
belief, reside in the People’s Republic of China or other foreign jurisdictions Defendants
conduct business throughout the United States, including within Illinois and in this Judicial
District, through the operation of the fully interactive commercial websites and online
marketplaces operating under the Defendant Intemet Stores. Each Defendant targets the United
States, including Illinois, and has offered to sell and, on information and belief, has sold and
continues to sell infringing and/or counterfeit HACKY SACK products to consumers within the
United States, including Illinois and in this Judicial District.

THE DEFENDANTS’ UNLAWFUL CONDUCT

16. The success of the HACKY SACK brand has resulted in significant inliingement
and counterfeiting WHAM-O has identified numerous domain names linked to fully interactive
Websites and marketplace listings on platforms, including the Defendant Intemet Stores, which
were offering for sale, selling, and importing unauthorized HACKY SACK products to
consumers in this Judicial Distiict and throughout the United States. Defendants have persisted

in creating the Defendant Intemet Stores. Intemet websites like the Defendant Intemet Stores are

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estimated to receive tens of millions of visits per year and to generate over $135 billion in annual
online sales. According to an intellectual property rights seizures statistics report issued by
Homeland Security, the manufacturer’s suggested retail price (MSRP) of goods seized by the
U.S. government in fiscal year 2013 was over $1.74 billion, up nom $1.26 billion in 2012.
Intemet websites like the Defendant Intemet Stores are also estimated to contribute to tens of
thousands of lost jobs for legitimate businesses and broader economic damages such as lost tax
revenue every year.

17. Upon information and belief, Defendants facilitate sales by designing the
Defendant Intemet Stores so that they appear to unknowing consumers to be authorized online
retailers, outlet stores, or wholesalers selling genuine HACKY SACK products Many of the
Defendant Intemet Stores look sophisticated and accept payment in U.S. dollars via credit cards,
Western Union and PayPal. Defendant Intemet Stores often include images and design elements
that make it very difficult for consumers to distinguish such counterfeit sites from an authorized
website. Defendants further perpetuate the illusion of legitimacy by offering “live 24/7”
customer service and using indicia of authenticity and security that consumers have come to
associate with authorized retailers, including the McAfee® Security, VeriSign®, Visa®,
MasterCard®, and PayPal® logos. WHAM-O has not licensed or authorized Defendants to use
its HACKY SACK trademark, and none of the Defendants are authorized retailers of genuine
HACKY SACK products.

18. Upon information and belief, Defendants also deceive unknowing consumers by
using the HACKY SACK trademark without authorization within the content, text, and/or meta
tags of their websites to attract various search engines crawling the Intemet looking for websites

relevant to consumer searches for HACKY SACK products. Additionally, upon information and

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belief, Defendants use other unauthorized search engine optimization (SEO) tactics and social
media spamming so that the Defendant lutemet Stores listings show up at or near the top of
relevant search results and misdirect consumers searching for genuine HACKY SACK products.
Further, Defendants utilize similar illegitimate SEO tactics to propel new domain names to the
top of search results after others are shut down. As such, WHAM-O also seeks to disable
Defendant Domain Names owned by Defendants that are the means by which the Defendants
could continue to sell counterfeit HACKY SACK products.

l9. Defendants often go to great lengths to conceal their identities by often using
multiple fictitious names and addresses to register and operate their massive network of Defendant
Intemet Stores. Other Defendant Domain Names often use privacy services that conceal the
owners’ identity and contact infonnation. Upon information and belief, Defendants regularly create
new websites and online marketplace accounts on various platforms using the identities listed in
Schedule A to the Complaint, as well as other unknown fictitious names and addresses. Such
Defendant Intemet Store registration patterns are one of many common tactics used by the
Defendants to conceal their identities, the full scope and interworking of their massive
counterfeiting operation, and to avoid being shirt down.

20. There are similarities among the Defendant Intemet Stores. For example, some of
the Defendant websites have similar layouts. In addition, the counterfeit HACKY SACK products
for sale in the Defendant Intemet Stores bear similarities and indicia of being related to one another,
suggesting that the counterfeit HACKY SACK products were manufactured by and come from a
corrimon source and that, upon information and belief, Defendants are interrelated The Defendant
Intemet Stores also include other notable common features, including use of the same domain name

registration patterns, unique shopping cart platforrns, accepted payment methods, check-out

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methods, meta data, illegitimate SEO tactics, HTML user-defined variables, domain redirection,
lack of contact information, identically or similarly priced items and volume sales discounts,
similar hosting services, similar name servers, and the use of the same text and images.

21. In addition to operating under multiple fictitious names, Defendants in this case
and defendants in other similar cases against online counterfeiters use a variety of other common
tactics to evade enforcement efforts. For example, counterfeiters like Defendants will often
register new domain names or online marketplace accounts under new aliases once they receive
notice of a lawsuit. Counterfeiters also often move website hosting to rogue servers located
outside the United States once notice of a lawsuit is received. Rogue servers are notorious for
ignoring take down demands sent by brand owners. Counterfeiters also typically ship products in
small quantities via international mail to minimize detection by U.S. Customs and Border
Protection. A 2012 U.S. Customs and Border Protection report on seizure statistics indicated that
the Intemet has fueled “explosive growth” in the number of small packages of counterfeit goods
shipped through the mail and express carriers.

22. Further, counterfeiters such as Defendants typically operate multiple credit card
merchant accounts and third-party accounts such as PayPal accounts behind layers of payment
gateways so that they can continue operation in spite of Plaintiffs’ enforcement efforts Upon
information and belief, Defendants maintain off-shore bank accounts and regularly move fimds
from their PayPal accounts to off-shore bank accounts outside the jurisdiction of this Court. Indeed,
analysis of PayPal transaction logs from previous similar cases indicates that offshore counterfeiters
regularly move fimds from U.S.-based PayPal accounts to China-based bank accounts outside the

jurisdiction of this Court.

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23. Defendants, without any authorization or license from WHAM-O, have
knowingly and willfully used and continue to use the HACKY SACK trademark in connection
with the advertisement, distribution, offering for sale, and sale of counterfeit HACKY SACK
products into the United States and Illinois over the Intemet. Each Defendant Intemet Store
offers shipping to the United States, including Illinois, and, on information and belief, each
Defendant has offered to sell counterfeit HACKY SACK products into the United States,
including Illinois.

24. Defendants’ use of the HACKY SACK trademark in connection with the
advertising, distribution, offering for sale, and sale of counterfeit HACKY SACK products,
including the sale of counterfeit HACKY SACK products into Illinois, is likely to cause and has
caused confusion, mistake, and deception by and among consumers and is irreparably harming
WHAM-O.

COUNT l
TRADEMARK INFRINGEMENT AND COUNTERFEITING (15 U.S.C. § 1114)

25. WHAM-O repeats and incorporates by reference herein its allegations contained
in the above paragraphs of this Complaint.

26. This is a trademark infringement action against Defendants based on their
unauthorized use in commerce of counterfeit irriitations of the registered HACKY SACK
trademark in connection with the sale, offering for sale, distribution, and/or advertising of
infringing goods. The HACKY SACK trademark is a highly distinctive mark. Consumers have
come to expect the highest quality from WHAM-O’s products provided under the HACKY

SACK trademark.

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27. Defendants have sold, offered to sell, marketed, distributed, and advertised, and
are still selling, offering to sell, marketing, distributing, and advertising products in connection
with the HACKY SACK trademark without WHAM-O’s permission.

28. WHAM-O holds the exclusive rights to the HACKY SACK trademark. The
United States Registration for the HACKY SACK trademark (Exhibit 1) is in full force and
effect. Upon information and belief, Defendants have knowledge of WHAM-O’s rights in the
HACKY SACK trademark, and are willfully infringing and intentionally using counterfeits of
the HACKY SACK trademark Defendants’ willful, intentional and unauthorized use of the
HACKY SACK trademark is likely to cause and is causing confusion, mistake, and deception as
to the origin and quality of the counterfeit goods among the general public.

29. Defendants’ activities constitute willful trademark infringement and
counterfeiting under Section 32 of the Lanham Act, 15 U.S.C. § lll4.

30. WHAM-O has no adequate remedy at law, and if Defendants’ actions are not
enjoined, WHAM-O will continue to suffer irreparable harm to its reputation and the goodwill of
its well-known HACKY SACK trademark.

31. The injuries and damages sustained by WHAM-O has been directly and
proximately caused by Defendants’ wrongful reproduction, use, advertisement, promotion,
offering to sell, and sale of counterfeit HACKY SACK products.

COUNT ii
FALSE i)EsiGNATioN oF oRiGiN (15 U.s.c. § iizs(a))

32. WHAM-O repeats and incorporates by reference herein its allegations contained

in the above paragraphs of this Complaint,
33. Defendants’ promotion, marketing, offering for sale, and sale of counterfeit HACKY

SACK products has created and is creating a likelihood of confusion, mistake, and deception among

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the general public as to the affiliation, connection, or association with WHAM-O or the origin,
sponsorship, or approval of Defendants’ counterfeit HACKY SACK products by WHAM-O.

34. By using the HACKY SACK trademark in connection with the sale of counterfeit
HACKY SACK products, Defendants create a false designation of origin and a misleading
representation of fact as to the origin and sponsorship of the counterfeit HACKY SACK
products.

35. Defendants’ false designation of origin and misrepresentation of fact as to the
origin and/or sponsorship of the counterfeit HACKY SACK products to the general public is a
willfiil violation of Section 43 of the Lanham Act, 15 U.S.C. § 1125.

36. WHAM-O has no adequate remedy at law and, if Defendants’ actions are not

enjoined, WHAM-O will condone to suffer irreparable harm to its reputation and the goodwill of

its brand.
COUNT III
VIOLATION OF ILLINOIS UNIFORM DECEPTIVE TRADE PRACTICES ACT
(815 ILCS § 510, et seq.)

37. WHAM-O repeats and incorporates by reference herein its allegations contained
in the above paragraphs of this Complaint,

38. Defendants have engaged in acts violating Illinois law including, but not limited
to, passing off their counterfeit HACKY SACK products as those of WHAM-O, causing a
likelihood of confusion and/or misunderstanding as to the source of their goods, causing a
likelihood of confusion and/or misunderstanding as to an affiliation, connection, or association
with genuine HACKY SACK products, representing that their products have WHAM-O’s
approval when they do not, and engaging in other conduct which creates a likelihood of

confusion or misunderstanding among the public.

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39. The foregoing Defendants’ acts constitute a willful violation of the Illinois
Unifonn Deceptive Trade Practices Act, 815 ILCS § 510, et seq.

40. WHAM-O has no adequate remedy at law, and Defendants’ conduct has caused
Plaintiffs to suffer damage to its reputation and goodwill. Unless enjoined by the Court, WHAM-
O will suffer future irreparable harm as a direct result of Defendants’ unlawful activities.

PRAYER FOR RELIEF

WHEREFORE, Plaintiffs pray for judgment against Defendants as follows:

l) That Defendants, their affiliates, officers, agents, servants, employees, attomeys,
confederates, and all persons acting for, with, by, through, under, or in active concert with them
be temporarily preliminarily, and permanently enjoined and restrained from:

a. using the HACKY SACK trademark or any reproductions, counterfeit copies, or
colorable imitations thereof in any manner in connection with the distribution,
marketing, advertising, offering for sale, or sale of any product that is not a genuine
HACKY SACK product or is not authorized by Plaintiffs to be sold in connection
with the HACKY SACK trademark;

b. passing off, inducing, or enabling others to sell or pass off any product as a genuine
HACKY SACK product or any other product produced by Plaintiffs that is not
Plaintiffs’ or not produced under the authorization, control, or supervision of
Plaintiffs and approved by Plaintiffs for sale under the HACKY SACK trademark;

c. committing any acts calculated to cause consumers to believe that Defendants’
counterfeit HACKY SACK products are those sold under the authorization, control,
or supervision of Plaintiffs, or are sponsored by, approved by, or otherwise connected

with Plaintiffs;

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d. further inh'inging the HACKY SACK trademark and damaging Plaintiffs’ goodwill;

e. otherwise competing unfairly with Plaintiffs in any manner;

f. shipping, delivering, holding for sale, transferring or otherwise moving, storing,

distributing, returning, or otherwise disposing of, in any manner, products or inventory

not manufacttn‘ed by or for Plaintiffs, nor authorized by Plainst to be sold or offered

for sale, and which bear Plaintiffs’ trademark, including the HACKY SACK

trademark, or any reproductions, counterfeit copies, or colorable imitations thereof;

g. using, linking to, transfen~ing, selling, exercising control over, or otherwise owning the

Online Marketplace Accounts, the Defendant Domain Narnes, or any other domain

name or online marketplace account that is being used to sell or is the means by which

Defendants could continue to sell counterfeit HACKY SACK products; and

h. operating and/or hosting websites at the Defendant Domain Names and any other domain

names registered or operated by Defendants that are involved with the distribution,

marketing, advertising, offering for sale, or sale of any product bearing the HACKY

SACK trademark or any reproduction, counterfeit copy or colorable imitation thereof that

is not a genuine HACKY SACK product or not authorized by Plaintiffs to be sold in

connection with the HACKY SACK trademark; and

2) That Defendants, within fourteen (14) days after service of judgment with notice of entry

thereof upon them, be required to Hle with the Court and serve upon Plaintiffs a written report imder

oath setting forth in detail the manner and form in which Defendants have complied with paragraph

l, a through h, above;

3) Entry of an Order that, at Plaintiffs’ choosing, the registrant of the Defendant Domain

Names shall be changed from the current registrant to Plaintiffs, and that the domain name

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registries for the Defendant Domain Names, including, but not limited to, VeriSign, Inc.,
Neustar, Inc., Afilias Limited, CentralNic, Nominet, and the Public Interest Registry, shall
unlock and change the registrar of record for the Defendant Domain Names to a registrar of
Plaintiffs’ selection, and that the domain name registrars take any steps necessary to transfer the
Defendant Domain Names to a registrar of PlaintiH`s’ selection; or that the same domain name
registries shall disable the Defendant Domain Names and make them inactive and untransferable;

4) Entry of an Order that, upon Plaintiffs’ request, those in privity with Defendants and

those with notice of the injunction, including any online marketplaces such as WISH, iOffer and
Alibaba Group Holding Ltd., Alipay.com Co., Ltd. and any related Alibaba entities (collectively,
“Alibaba”), social media platforms, Facebook, YouTube, Linkedln, Twitter, Intemet search
engines such as Google, Bing and Yahoo, web hosts for the Defendant Domain Names, and
domain name registrars, shall:

a. disable and cease providing services for any accounts through which Defendants
engage in the sale of counterfeit HACKY SACK products using the HACKY SACK
trademark, including any accounts associated with the Defendants listed on Schedule
A;

b. disable and cease displaying any advertisements used by or associated with
Defendants in connection with the sale of counterfeit HACKY SACK products using
the HACKY SACK trademark; and

c. take all steps necessary to prevent links to the Defendant Domain Names identified on
Schedule A from displaying in search results, including, but not limited to, removing

links to the Defendant Domain Names ii'om any search index; and

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5) That Defendants account for and pay to Plaintiffs all profits realized by Defendants
by reason of Defendants’ unlawful acts herein alleged, and that the amount of damages for
infringement of the HACKY SACK trademark be increased by a sum not exceeding three times
the amount thereof as provided by 15 U.S.C. § 1 117;

6) In the altemative, that Plaintiffs be awarded statutory damages pursuant to 15 U.S.C.
§ 11 l7(c)(2) of $2,000,000 for each and every use of the HACKY SACK trademark;

7) That Plaintiffs be awarded its reasonable attorneys’ fees and costs; and

8) Award any and all other relief that this Court deems just and proper.

DATED: February 22, 2019 Respectfully submitted,

Keith A. Vogt (Bar No. 6207971)
Keith Vogt, Ltd.

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Oak Park, Illinois 60302
Telephone: 708-203-4787
E-mail: keith@vogtip.com

ATTORNEY FOR PLAHVTIFFS

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Exhibit 1

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